      Case 4:11-cr-00015-SWW          Document 63        Filed 10/12/12      Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA                    *
                                            *
                                            *
                                            *                NO: 4:11CR00015 SWW
V.                                          *
                                            *
BOBBY WOODS                                 *


                                           ORDER

      Before the Court is the United States’ motion to dismiss Forfeiture Allegation I of the

Superseding Indictment. The motion (docket entry #61) is GRANTED. Forfeiture Allegation I

of the Superseding Indictment is hereby DISMISSED.

      IT IS SO ORDERED THIS 12TH DAY OF OCTOBER, 2012.


                                                   /s/Susan Webber Wright
                                                   UNITED STATES DISTRICT JUDGE
